CaseCase: 21-30037   Document:
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                     United States Court of Appeals
                                     FIFTH CIRCUIT
                                  OFFICE OF THE CLERK
  ġ                     ġ                                  ġ
  LYLE W. CAYCE         ġ                                          TEL. 504-310-7700
  CLERK                 ġ                                       600 S. MAESTRI PLACE,
                        ġ                                               Suite 115
                                                               NEW ORLEANS, LA 70130

                               September 21, 2021

 Mr. Tony R. Moore
 Western District of Louisiana, Monroe
 United States District Court
 300 Fannin Street
 Suite 1167
 Shreveport, LA 71101-0000

        No. 21-30037        Chambless Enterprises v. Walensky
                            USDC No. 3:20-CV-1455

 Dear Mr. Moore,
 Enclosed is a copy of the judgment issued as the mandate.



                                      Sincerely,
                                      LYLE W. CAYCE, Clerk



                                      By: _________________________
                                      Dantrell L. Johnson, Deputy Clerk
                                      504-310-7689

 cc w/encl:
      Mr. Afnan Akram
      Ms. Danielle Davis
      Mr. Eric Gregory Dunn
      Ms. Davida Finger
      Ms. Alisa Beth Klein
      Mr. Christopher McGreal
      Mr. James Clark Rather, Jr.
      Mr. Steven M. Simpson
      Mr. Brian James Springer
      Ms. Leslie Cooper Vigen
      Mr. Luke A. Wake
      Mr. David Holman Williams
      Ms. Dayna Zolle
CaseCase: 21-30037   Document:
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                                                                   PageID #: 794




              United States Court of Appeals
                   for the Fifth Circuit
                                  ___________

                                   No. 21-30037
                                  ___________

       Chambless Enterprises, L.L.C.; Apartment Association
       of Louisiana, Incorporated,

                                                         Plaintiffs—Appellants,
                                       versus

       Rochelle Walensky; Sherri Berger; United States
       Department of Health and Human Services; Merrick
       Garland, U.S. Attorney General; Xavier Becerra,
       Secretary, U.S. Department of Health and Human
       Services; Centers for Disease Control and Prevention,

                                             Defendants—Appellees.
                    ______________________________

                    Appeal from the United States District Court
                       for the Western District of Louisiana
                             USDC No. 3:20-CV-1455
                    ______________________________

       ORDER:
             IT IS ORDERED that appellants’ unopposed motion to dismiss the
       appeal pursuant to Fed. R. App. P. 42 is GRANTED.


                                 LYLE W. CAYCE, CLERK
                                 United States Court of Appeals
                                      for the Fifth Circuit
                                      /s/ Lyle W. Cayce
CaseCase: 21-30037   Document:
     3:20-cv-01455-TAD-KDM     00516023643
                           Document  62 FiledPage: 2 Date
                                              09/21/21 PageFiled:
                                                            3 of 309/21/2021
                                                                   PageID #: 795
                                   No. 21-30037




                      ENTERED AT THE DIRECTION OF THE COURT




                                              A True Copy
                                              Certified order issued Sep 21, 2021


                                              Clerk, U.S. Court of Appeals, Fifth Circuit




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